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7
8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          CASE NO. CR. S-06-058 FCD
                                   )
12                  Plaintiff,     )
                                   )          STIPULATION TO CONTINUE
13        v.                       )          STATUS CONFERENCE AND
                                   )          EXCLUDE TIME UNDER THE
14   IOSIF CAZA,                   )          SPEEDY TRIAL ACT; PROPOSED
                                   )          ORDER
15                  Defendant.     )
                                   )
16                                 )
                                   )          Date: April 24, 2006
17                                 )          Time: 9:30 A.M.
                                   )          Courtroom: Two
18   _____________________________ )          Hon. Frank C. Damrell
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant IOSIF
21   CAZA and the United States of America, through their respective
22   counsel, that the status conference presently set for April 24,
23   2006, be continued to May 22, 2006, and that time under the
24   Speedy Trial Act should be excluded through May 22, 2006.
25        The government has provided additional discovery to the
26   defense which defense counsel is reviewing with his client.           The
27   defense also is assessing whether it will file any motions in
28   this case.   To allow for sufficient time for the defense to

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1    prepare, the parties to engage in further discussions, and to
2    avoid any waste of judicial resources, the parties stipulate to
3    this continuance and agree that time should be excluded pursuant
4    to Local Code T4.
5         Defendant CAZA, who is not in custody, understands his
6    rights under the Speedy Trial Act and consents to this
7    continuance.
8    DATED: April 20, 2006                    McGREGOR W. SCOTT
                                              United States Attorney
9
10                                     By: /s/ Camil A. Skipper
                                           CAMIL A. SKIPPER
11                                         Assistant U.S. Attorney
12
13   DATED: April 20, 2006                    /s/ Matthew G. Jacobs
                                              MATTHEW G. JACOBS
14                                            Attorney for IOSIF CAZA
15                                    ORDER
16        1.   The status conference presently set for April 24, 2006,
17   is continued to May 22, 2006, at 9:30 A.M.
18        2.   Based upon the representations of the parties, the
19   Court found that the ends of justice outweighed the best interest
20   of the public and the defendant in a speedy trial and excluded
21   time under the Speedy Trial Act through May 22, 2006.          For the
22   reasons stated in this pleading, the Court finds excludable time
23   through May 22, 2006.
24        IT IS SO ORDERED.
25   Date: April 21, 2006
26                                    /s/ Frank C. Damrell Jr.
                                      FRANK C. DAMRELL, Jr.
27                                    United States District Judge
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